 

 

 

UNITED STATES DISTRICT-‘COURT s$DN‘
SOUTHERN DISTRICT OF NEW YORK |.
- EME

| TOSEPH MEL VN Coc@aN,
§ RAUL W. SANTLAGO, BRITO: No.

Write the full name of each plaintiff. — o "(To be filled out by Clerk’s Office}

-against- ‘COMPLAINT

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THEER Companres\!. ECT!

 

Write the full name of each defendant: If you cannot fit the

names of all of the defendants in the space provided, please

write “see attached” In the space above and attach an

additional sheet of paper with the full list of names. The

names listed above must be identical to those contained in

Section lV. “ : u

 

NOTICE
The public can access, electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual's full social security number or full
birth date; the full name.of a person known to be a minor; ora complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

 

 

 

Rev. 5/6/16
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I. 'LEGALBASIS FOR CLAIM.

State below the federal legal basis for your claim, if known. This form is designed primarily for
‘prisoners challenging the constitutionality of their conditions of confinement; those claims are
often brought under 42 U.S.C. § 1983 (against state, county, or municipal defendants) or in a
“Bivens” action (against federal defendants). .

 

C] Violation of my federal constitutional rights

Wore:  \-COLATON of ny ain esl Cutie ve Sunusen
Il; PLAINTIFF INFORMATION ( . Penesiment

Each plaintiff must provide the following information. Attach additional pages if necessary.

~—SOSEPH om. CocHean

First Name Middle Initial Last Name

Me. DOSEPH MELLIN Coc tt can.

State any other names (or different forms of your name) you have ever used, including any name.
you have used in previously fi iling a lawsuit. —

OSCC~ Burpee ORFF AH9 LOLZBEA . oe

Prisoner ID # (if you have previously been in another agency's custody, please specify each agency |
and the 1D number (such as your DIN or NYSID) under which you were held)

ANNA moss Keoss cewtee J0-95 Burterde@ oN
Current Place of Detention O+clceR’ < TSLA ND |

4-\% =Hozenee , A.M. Ks. Ce)

Mh} — Address

 

QUEENS EAST. ELH YSIeT N.Y. SIO
County, City . State Zip Code

Ill. . PRISONER STATUS
Ingese below whether you are a prisoner or other confined person:

Pretrial detainee
C1] Civilly commitied detainee
C] Immigration detainee

avid and sentenced prisoner [|
Other: pee FELO DY CLOYRT CNM ore PRESaNEeF. ‘ {

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IV. DEFENDANT INFORMATION

To the best of your ability, provide the following information for each defendant. If the correct —
information is not provided, it could delay or prevent service of the complaint on the defendant.
Make sure that the defendants listed below are identical to those listed in the caption. Attach

additional pages as necessary.

Defendant 1: ui o£ ‘CLOSE-UP "100TH- PASTE BeANID

oS$es / ma tecees/eerth _

Current Job Title (or other identifying informatién)

 

 

 

Current Work Address
a a
County, City" State — Zip Code
—“ipcode
a ° ”

 

Defendant2:; ~~ .
First Name Last Name Shield #

 

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Current Job Title (or other identifying information)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Current Work Address
County, City State Zip Code
Defendant 3: ~
First Name Last Name Shield #
Current Job Title (or¢ other identifying information) , ,
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Current Work Address , on
fm a ‘
‘County, City OO ’. State Zip Code
ee
Defendant 4: ~
. Last Name * Shield #

First Name

 

Current Job Title (or other identifying information) ee i

 

 

Current Work Address Tr
tT "o
County, City State Zip Code

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Vv STATEMENT OF CLAIM | ED6CSy |
o af .
' Place(s) of occurrence: STREETS oF Now Yee CLTY, ¢ a ke K s LSLANO ’

Date(s) of occurrence: 02a! AUG. a Se 6) 4 SAN. & Oo [oF Ag. Qo ae

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were.
harmed, and how each defendant was personally involved in the alleged wrongful actions. Attach

additional pages as necessary.

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INJURIES:
if you were injured as a result of these actions, describe your injuries and what medical treatment,
if any, you required and received.

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| Vi. RELIEF

State briefly what money damages or other relief you want the court to order.

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Vil. ‘ PLAINTIEF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause unnecessary
delay, or needlessly increase the cost of litigation); (2) the claims are supported by existing law
or by anonfrivolous argument to change existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after.a
reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise
complies with the requirements of Federal Rule of Civil Procedure 11.

I understand that if] file three or more cases while I am a prisoner that are dismissed as *
frivolous, malicious, or for failure to state a claim, I may be denied in forma pauperis status’ in

future cases.

I also understand that prisoners must exhaust administrative procedures before filing an action .
in federal court about prison conditions, 42 U.S.C. § 1997e(a), and that my case may be
dismissed if I have not exhausted administrative remedies as required. '

I agree to provide the Clerk’ s Office with any changes to my address. I understand that my.
failure to keep a current address on file with the Clerk's Office may result in the dismissal of my

case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without eyement of fees, each plaintiff must also submit an IFP application.

 

~plaintiff’s Signature

JOSEPH — M. CocHeAn

First Name Middle Initial Last Name .

Am ko _[c- G5 Burl prne Re cKERS weet SL AD, Docs
rison Address
S13 Hazen Queens, NY. EACTaELMHuser 11370

County, City State Zip Code

Date on which Lam delivering this complaint. to prison authorities for mailing: Nie. 38 La /

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